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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

CONCERNED PASTORS FOR SOCIAL
ACTION, MELISSA MAYS, AMERICAN
CIVIL LIBERTIES UNION OF MICHIGAN,
and NATURAL RESOURCES DEFENSE
COUNCIL, INC.,

                         Plaintiffs,
                                                               Case Number 16-10277
v.                                                             Honorable David M. Lawson

NICK A. KHOURI, FREDERICK HEADEN,
MICHAEL A. TOWNSEND, JOEL
FERGUSON, MICHAEL A. FINNEY,
SYLVESTER JONES, and CITY OF FLINT,

                  Defendants.
_______________________________________/

     ORDER APPROVING SETTLEMENT AGREEMENT AND DISMISSING CASE

          The plaintiffs in this case filed the present lawsuit seeking, among other things, immediate

and long-term remedial action to address lead contamination found in Flint’s public water system.

The plaintiffs and defendants, along with the State of Michigan and the Michigan Department of

Environmental Quality, have agreed to resolve this case through a Settlement Agreement. They

filed a stipulation, attached the Settlement Agreement as Exhibit 1 to that stipulation [dkt. #147-1,

147-2], and requested that the Court hold a hearing to review and approve the settlement. The

Court held such a hearing in open court on March 28, 2017. The parties presented the terms of the

Settlement Agreement and asked the Court to approve it. There were no objections placed on the

record.

          Based on the terms of the Settlement Agreement and the representations of the parties to it,

the Court finds as follows:
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       A.      The Court has subject matter jurisdiction over the case and jurisdiction to order the

               relief requested;

       B.      The Settlement Agreement is fair, adequate, reasonable, consistent with the public

               interest, and “further[s] the objectives” of the Safe Drinking Water Act, 42 U.S.C.

               §§ 300f, et seq., and the regulations promulgated thereunder, including the Lead and

               Copper Rule, 40 C.F.R. §§ 141.80 et seq. See Local No. 93, Int’l Ass’n of

               Firefighters, AFL CIO C.L.C. v. City of Cleveland, 478 U.S. 501, 525 (1986);

       C.      Based on the parties’ stipulation, the Court has the authority to provide broader relief

               than the Court could have awarded after a trial under the law which forms the basis

               of the claim. Ibid.;

       D.      In the Settlement Agreement, the parties have requested the Court to retain

               jurisdiction to enforce it; and

       E.      By incorporating the Settlement Agreement in full into this order, the Court retains

               jurisdiction to enforce the Settlement Agreement according to its terms. 202 N.

               Monroe, LLC v. Sower, --- F.3 ---, 2017 WL 782442, at *3 (6th Cir. Mar. 1, 2017).

       Accordingly, it is ORDERED that the Settlement Agreement [dkt. #147-1, 147-2] is

incorporated in full into this Order.

       It is further ORDERED that the Settlement Agreement is APPROVED.

       It is further ORDERED that the Court retains jurisdiction to enforce the Settlement

Agreement.

       It is further ORDERED that this case is DISMISSED WITH PREJUDICE as to all

defendants.


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       It is further ORDERED that the motion and amended motion to vacate the preliminary

injunction [dkt. #110, 111] and the emergency motion to enforce the preliminary injunction [dkt.

#116] are DISMISSED as moot.


                                                      s/David M. Lawson
                                                      DAVID M. LAWSON
                                                      United States District Judge
Dated: March 28, 2017




                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 28, 2017.

                                                          s/Susan Pinkowski
                                                          SUSAN PINKOWSKI




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